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   ELIZM ETH SINES,ET AL.,                               C aseN o.3:17-cv-00072-NK M

   Plaintiffs,                                           H on.Norm un K .M oon

   V.

   JASO N KESSLERNET AL.,

    Delbhdants.

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          DefendantM ichaelPeinovich,Pro Se,m pvesthisHonorable Courtto dism issPlaintifps

   ComplaintpursuanttoFed.R.Civ,P.12(b)(6)forthereasonssetforthinhisM emorandum in
   Support.




                                                         M ichaelPeinovich,Pro Se
